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CASE: VICTOR J. ORENA
DOCKET NO: 92-CR-351 (JBW)

ADDENDUM TO THE PRESENTENCE REPORT

OBJECTIONS

BY THE GOVERNMENT

The government has no objections.

BY THE DEFENDANT

A copy of defense counsel’s letter of May 6, 1993 objecting to
portions of the defendant’s presentence report is attached.

Counsel’s first objection relates to the application of
Guideline 1B1.2(d) (Applicable Guidelines) and the multiple
criminal act adjustment. In determining the appropriate offense
level, the Probation Department applied Guideline 1B1.2(d), which
states in substance that a conviction on a count charging
conspiracy to commit more than one offense shall be treated as if
the defendant had been convicted on a separate count of conspiracy
for each offense that the defendant conspired to commit. It is the
position of the Probation Department that the count of conviction
(Count 5) charges the defendant with conspiring to murder members
of the Persico faction of the Colombo Organized Crime Family. The
language of Count 5, which uses the term "members", implies that
Count 5 envelopes more than one act, or more precisely, more than
one conspiracy to commit murder. Thus, Guideline 1B1.2(d) applies
to Count 5 since it charges the defendant with conspiracy to murder
members of the Persico Crime Faction. According to the government,
evidence was introduced at trial that the defendant, as "Acting
Boss" of the "Colombo Family," ordered the assassinations of
numerous members of the Persico faction of this criminal
enterprise. Consequently, to achieve a combined offense level for
the criminal acts constituting Count 5, a multiple criminal act
adjustment was made. Because there is only one count of
conviction, a multiple count adjustment is not applicable.

Defense counsel’s second objection relates to the grounds upon
which Your Honor may upwardly depart from the sentencing
guidelines. With respect to this issue, the Probation Department
brings to the Court’s attention two factors. First, the
information contained in paragraphs 351, 352, and 353 (i.e. the
defendant’s obstruction of justice, and his role in the deaths of
Colombo Family member "Jack" Leale and innocent bystander Matteo
Speranza) was derived from the Government, who maintains that a
preponderance of evidence exists that the defendant was involved,
either directly or indirectly, in the offenses noted in those
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paragraphs. With respect to these offenses, the Probation
Department defers to the Government concerning their accuracy.
Secondly, the Probation Department would invite counsel to reread
the aforementioned paragraphs as nowhere in the defendant’s
presentence report does this department, contrary to the inference
drawn by defense counsel, "recommend" that an upward departure be
given. Indeed, as reflected in the defendant’s presentence report,
"Per Guideline 4A1.3(a), Your Honor may consider this conduct, for
which the defendant has not been convicted, as a basis for upward
departure." The inclusion of this sentence in the defendant’s
presentence report is not intended to be a "recommendation,"
rather, it merely provides Your Honor with a basis upon which an
upward departure may be given should the Court so desire. It has
always been, and will continue to be, the practice of this
department not to recommend the implementation of either upward or

downward departures, but to advise the Court of the availability of
such departures.

Counsel’s third objection concerns the inclusion of historical
information in the defendant’s presentence report. The inclusion
of this information by the Probation Department was not intended to
suggest that the defendant has been involved with organized
criminal activities since its inception. Rather it was included to
provide the Court with the historical foundation upon which the
"Colombo Family" was established, and in later years led by its
"Acting Boss" Victor J. Orena. Indeed, despite defense counsel’s
statements to the contrary, the history of organized crime (as
reflected in the presentence report) has been well documented by
various law enforcement authorities, including but not limited to

the New York City Police Department and Federal Bureau of
Investigation.

Counsel’s final objection concerns the defendant’s inability
to pay a fine. The Probation Department would note that, with the
exception of the statements contained in the presentence report
concerning his ownership (either solely or with his sons) of two
homes located on Long Island, the remaining information concerning
the defendant’s financial solvency was derived from information
provided by both Pre-Trial Services and the United States
Attorney’s Office. Therefore, as the Probation Department is not
the source of this information, we defer to them concerning the
accuracy of this information. If Your Honor finds that the
financial information contained in the defendant’s presentence
report is accurate, then it is the opinion of this department that
the defendant is financially able to pay a fine, restitution, or
other financial penalty. However, regarding the defendant’s
presentence report, the Probation Department would again note that
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we make no recommendation as to the imposition of such a penalty,
rather that the defendant appears financially able to pay a penalty
should the Court so chose.

Respectfully submitted,

STEPHEN J. RACKMILL
Chief U.S. Probation Officer

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BY: JOAN COLLINS
U.S. Probation Officer

Approved by:

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ANDREW S. BOBBE
Supervising U.S. Probation Officer

Date: May 11, 1993
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*MEMBER NEW YORK AND CALIFORNIA BAR May 6, 1993

By Hand

Honorable Jack B. Weinstein
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

Re: United States v. Victor J. Orena;
92-CR-351 (84)

Dear Judge Weinstein:

This letter is submitted to advise you, the Probation
Office, and the government of our objections to the presentence
report. My secretary spoke yesterday with Alan Wolf of your

staff who said that we could have until this morning to submit
this letter.

di Counts 1, 2, and 5

Guideline 1B1.2(d) provides that a conviction for conspiracy
to commit more than one offense shall be treated as if the
defendant had been convicted on separate counts of conspiracy for
each offense. Thus, in calculating Mr. Orena’s sentence for the
conspiracy to murder members of the Persico faction (as. part of
counts 1, 2, and 5), the presentence report provides offense
levels for each conspiracy to murder a particular Persico
associate which the government believes was established by the
evidence at trial. The report describes those separate
conspiracies as racketeering acts 2(A) through 2(K). In
addition, the presentence report describes two murders, of Henry
Smurra and Rosario Nastasi, as racketeering acts 2(L) and 2(M).

The report’s calculation is in error in two respects.
First, the calculations for what the presentence report describes
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as racketeering acts 2(L) and 2(M) are based on the murder of
Smurra and Nastasi when, at the most, they should be based on
conspiracies to murder Smurra and Nastasi. Even if Smurra and
Nastasi were actually killed, Racketeering Act No. 2 only charged
Mr. Orena with conspiring to murder rival faction members, not
the murders themselves. Thus, assuming the validity of the
report's approach to Racketeering Act No. 2 and the report's
assessment of the trial evidence, the most for which Mr. Orena
can even arguably be sentenced for the deaths of Smurra and
Nastasi are separate conspiracies to murder them.

Second, as Application Note 5 to § 1B1.2 explains:

Particular care must be taken in applying subsection (d)
because there are cases in which the verdict . . . does not
establish which offense(s) was the object of the

conspiracy. In such cases, subsection (d) should only be
applied with respect to an object offense alleged in the
conspiracy count if the court, were it sitting as a trier of
fact, would convict the defendant of conspiring to commit
that object offense.

Here, the specific object offenses on which the report’s
calculations are based are not alleged in the indictment. The
indictment charges Mr. Orena with conspiring generally to murder
unnamed members of the rival faction. Thus, there is no basis on
which to conclude that the jury’s verdict establishes its finding

of guilt on a conspiracy to murder any particular specified
person.

The presentence report recommends three upward departures:
one for Mr. Orena’s alleged direction to his son to contact a
gunshop from which guns were bought; one for Mr. Orena’s alleged
role in murdering Jack Leale; and one for Mr. Orena’s alleged

role in murdering Matteo Speranza. All three recommended upward
departures are unwarranted.

First, Mr. Orena did not direct his son to contact the
gunshop for any illicit reason, but to obtain the paperwork for
Mr. Orena’s gun purchases to be used in his defense at trial.
That paperwork reflected that Mr. Orena reported his prior felony
at the time of the purchases -- not a legal defense to the charge
itself, but evidence of Mr. Orena’s lack of intent based on his
belief that his prior felony was not a bar to his purchase.
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Second, numerous theories have been advanced to explain the
murder of Jack Leale, and numerous people are suspected of
killing him. Indeed, one of the 302’s that was produced before
trial by the government indicated that an entirely different
group of people were responsible for Leale’s murder. The
government can entertain as many different theories about Leale’s
death as it pleases, but it may not selectively adopt one theory,
unsupported by credible evidence, for the purpose of an upward
departure.

Third, there is no evidence that Mr. Orena was responsible
for the murder of Matteo Speranza. If there was sufficient
reason to believe that Mr. Orena was somehow responsible for
Speranza’s murder, the government certainly would have found a
way to incorporate that murder into one of the four superseding
indictments it returned in this case. The government knew of the
circumstances of Speranza’s demise while it was repeatedly
revising the charges against Mr. Orena before trial, and the
government apparently concluded that no viable theory of Mr.
Orena’s liability for that murder could be concocted. The same
is still true.

3, The Presentence Report's Boilerplate Purported
° J i h e Di rde

While reporting that Mr. Orena was not born until 1934 and
conceding that the crimes for which he was convicted all took
place in the New York area, the presentence report provides a
purported history of organized crime since 1915, describing its
scope from Honolulu to Houston. The government here only
introduced evidence in support of the crimes charged in the
indictment, and no legitimate basis exists on which even to
suggest a theory under which the government’s view of organized

crime over the last century is relevant to Mr. Orena’s
sentencing.

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Based mostly on Mr. Orena’s ownership of his home (where his
wife lives) and his partial interest in a second home, the
presentence report concludes that Mr. Orena has the means to pay
a substantial fine, restitution of as much as $2,345,979, and the
cost of incarceration of almost $18,000 a year, or a total of
over $350,000 if Mr. Orena lives another twenty years.
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To the best of my knowledge, Mr. Orena‘’s only assets of note
are his home and his partial interest in a second home. The
probation report incorrectly reports that Mr. Orena has an
interest in, among other things, the house at which he was
arrested at 7 Cherry Grove Court, Old Westbury Farms, a
condominium in Sea Ranch, Florida, or a boat in Florida. Nor
does he have any money in a checking account.

To impose a heavy monetary penalty on Mr. Orena would
require that he sell or mortgage the house which is Mrs. Orena’s
wife only source of security. Mr. Orena does not have the means
to pay to satisfy a heavy monetary sentence, especially as he
does not have the means to earn an income.

Finally, under no circumstance is there a basis on which to
fix any restitution at over $2 million. Mr. Orena was not
charged or convicted of loansharking, but of conspiring with
others to do so. There is no evidence that he was responsible
for any particular completed act of loansharking or that the
circumstances of any particular transaction counsel in favor of
restitution to any particular person.

Very truly yours,
PY) we. Hee AC
Gustave H. Newman

c¢: John Gleeson, Eaq.
Probation Officer Joan Collins
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

STEPHEN J. RACKMILL PROBATION OFFICE 75 CLINTON STREET, ROOM 405

CHIEF PROBATION OFFICER

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Gustave H. Newman, Esq. U.S. COURTHOUSE
Newman & Schwartz 300 RABRO DRIVE
641 Lexington Avenue eee

New York, New York 10022

Dear Mr.

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enc.,

PROB/EDNY

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7/92

316-582-1105

USA v. Victor J. Orena
Docket No.: 92-CR-351
For Sentence: May 24, 1993

Newman:

We carefully considered your objections to the
presentence report/guideline calculations. Because we
continue to disagree, your objections, together with our
response, are being made known to the sentencing judge
through the attached addendum.

We are in agreement with your objections to the
presentence report/guideline calculations and we are
informing the court through the enclosed addendum. If
any of your objections remain unresolved, they are being
made known to the court, with our response, through this
same addendum.

STEPHEN J. RACKMILL
CHIEF U.S. PROBATION OFFICER

JOAN COLLINS
UNITED STATES PROBATION OFFICER
